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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                  *         CRIMINAL NO. 21-177

                v.                                        *         SECTION: “B”

SEAN MARTIN, et. al                                       *

                                                 *        *        *


              GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION
           TO EXCLUDE GOVERNMENT’S NOTICED RULE 404(B) EVIDENCE

         NOW INTO COURT, through the undersigned Assistant United States Attorney, comes

 the United States of America and files the government’s Opposition to Defendant Sean Martin’s

 Motion to Exclude Government’s Notice Ruled 404(b) Evidence. 1 For the reasons discussed

 below, and in the government’s Notice of Its Intent to Introduce Rule 404(b) Evidence, Rec. Doc.

 88, which is incorporated herein by reference, the noticed evidence should be admitted.

         As discussed in more detail in the government’s notice of its intent to introduce Rule 404(b)

 evidence, the DEA and the FBI had a wiretap on Sean Martin’s phone back in 2019. Despite

 Martin being very guarded on the phone, the agents ultimately were able to secure a search warrant

 for an apartment rented by Martin’s son, Sean Esprit, that Martin also accessed frequently. During

 the search of that apartment, agents found a kilogram of heroin, fentanyl, cocaine, and a gun.

         The trial of this matter is going to be all about whether Martin conspired with his son (and

 others) to deal drugs and jointly possessed the items that were seized from the apartment. That is,

 the whole case will be about Martin’s knowledge and intent, as there is no question that the drugs



 1
   The government’s Rule 404(b) notice, which was filed in January 2023, included evidence of Gene Jackson’s prior
 felony drug distribution convictions. See Rec. Doc. 88. Martin requested an extension of the date to respond to the
 government’s notice until March 1, 2023. Jackson filed a request to file his opposition out of time last night, March
 20, 2023, which is the day before the government’s response to Martin’s pleading was due under the Local Rules. If
 the Court allows Jackson’s out of time pleading, the government respectfully requests an opportunity to respond.
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were in fact drugs, that the amounts were consistent with distribution and not personal use, and

that the gun, which was right by the drugs, was possessed in furtherance of the drug activity.

       The government is going to show Martin’s guilty knowledge and intent by proving various

instances in which Martin would arrange to meet with drug customers and/or sources, pass by the

apartment briefly while Esprit was not home, and then meet with the customers/sources in his or

their vehicles. As Martin’s motion makes clear, he intends to argue that these meetings were

innocent in nature and that he had no idea what Esprit was doing in the apartment.

       In evaluating that defense and determining whether Martin had criminal intent, the jury

should hear that this is not Martin’s first foray into drug trafficking. In the late 1990s, Martin was

part of a major drug trafficking operation and pleaded guilty in federal court to a cocaine

conspiracy involving very large quantities of cocaine. He did not deal drugs again until the early

2010s because he spent about a decade in federal prison. Not long after he was released, Martin

was intercepted on a federal wiretap arranging meetings with Harry Barry. As in this case, the

calls are not overtly criminal in nature. They discuss arranging meetings. They then have short

meetings generally in vehicles. Less than two months after these calls, agents arrested Barry in

possession of a kilogram of heroin. Barry ultimately pleaded guilty to federal drug charges

covering the same time he was having the cryptic calls with Martin.

       The relevant case law recognizes the difficulty of proving intent generally, and more

specifically the difficulties of proving intent in drug conspiracy cases such as this one. See United

States v. Roberts, 619 F.2d 379, 383 (5th Cir. 1980) (referencing the “unique nature of conspiracy

charges” and noting that “[c]harges of conspiracy involve considerations not present in other

criminal prosecutions: ‘[t]he offense of conspiracy requires an element of intent or knowledge

which is often difficult to prove.’” (Id. at 382, quoting United States v. McMahon, 592 F.2d 871,




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875 (5th Cir. 1979)); accord United States v. Harrison, 942 F.2d 751, 760 (10th Cir. 1991); United

States v. Darden, 70 F.3d 1507, 1539 (8th Cir. 1995). That difficulty is heightened here, where

Martin’s son has pleaded guilty to possessing the drugs and gun, the phone calls from the wires

are not overtly criminal in nature, and no one is willing to testify for fear of being killed.

       The relevant case law, including the cases Martin cites, recognizes that when a defendant

pleads not guilty in a drug conspiracy case, the defendant puts his intent at issue such that the first

step of the Beechum test is satisfied. United States v. Cockrell, 587 F.3d 674, 679 (5th Cir. 2009)

(where a defendant enters a plea of not guilty in a conspiracy case, the first prong of the Beechum

test is satisfied); United States v. Moody, 564 F.3d 754, 764 (5th Cir. 2009) (defendant charged

with of intent to distribute crack; intent by definition is material to this charge and makes evidence

of prior related crimes relevant under rule 404(b)); United States v. McCall, 553 F.3d 821, 829

(5th Cir. 2008) (crime of distribution of crack required government to prove general intent and

evidence of past crack conviction was admissible because relevant to prove that intent); United

States v. Pompa, 434 F.3d 800, 805 (5th Cir. 2005) (district court did not abuse its discretion by

admitting extrinsic evidence of a prior conviction when prior and current offenses were identical,

and since defendant pled not guilty, the issue of intent was sufficiently raised to permit the

admission of the evidence); United States v. Gadison, 8 F.3d 186 (5th Cir. 1993) (defendant put

his intent at issue when he pled not guilty to conspiring to distribute cocaine base; defendant’s

prior possession of cocaine conviction was relevant to his intent).

       The only issue then is whether the evidence of the prior acts is admissible pursuant to

Beechem’s second step, which requires the Court to engage in a Rule 403 balancing analysis. Rule

403 provides that “[t]he court may exclude relevant evidence if its probative value is substantially

outweighed by a danger of one or more of the following: unfair prejudice, confusing the issues,




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misleading the jury, undue delay, wasting time, or needlessly presenting cumulative evidence.”

To be excluded on Rule 403 grounds the evidence must be unfairly prejudicial, not simply

prejudicial since all evidence detrimental to the defendant’s case is prejudicial. See Old Chief v.

United States, 519 U.S. 172, 193 (1997).

        The Fifth Circuit has endorsed a broad approach to the admissibility of prior drug

convictions for 404(b) purposes. The Fifth Circuit considers Rule 404 as one of inclusion, that

admits evidence of other acts relevant to a trial issue except where such evidence tends to prove

only criminal disposition. United States v. Shaw, 701 F.2d 367, 386 (5th Cir. 1983). The rule is

exclusionary only as to evidence admitted to establish bad character; as such, it very broadly

recognizes admissibility of prior crimes for other purposes. Id.; United States v. Beechum, 582

F.2d 898, 910 (5th Cir. 1978); see also United States v. King, 703 F.2d 119, 125 (5th Cir. 1983)

(“[T]his [Rule 403 balancing] test takes an inclusionary and not an exclusionary approach.”).

   I.      Martin’s Prior Drug Trafficking Conviction

        According to Martin, his prior federal drug trafficking conviction should be excluded on

Rule 403 grounds because “its weak probative value as a result of its dissimilarity and temporal

remoteness, are outweighed by its unfair prejudice to Martin.” Rec. Doc. 95-1 at 7.

        The government disagrees that the prior drug conspiracy and the instance offense are so

dissimilar as to undermine the probative value of the prior conviction. Although it is true that one

involved large amounts of cocaine and the other involved large amounts of heroin and fentanyl

and small amounts of cocaine, all the elements of the two crimes are the same. In both instances,

Martin knowingly agreed with other members of the conspiracy to distribute narcotics. The Fifth

Circuit has held several times that evidence of trafficking in one drug is admissible under Rule

404(b) in a case alleging trafficking in a different drug. United States v. Booker, 334 F.3d 406,




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412 (5th Cir. 2003) (finding no unfair prejudice from evidence of seizure of 178 kilograms of

marijuana to show intent in a crack cocaine conspiracy); United States v. Broussard, 80 F.3d 1025,

1040 (5th Cir. 1996) (finding no unfair prejudice from admission of “conviction for possession of

fifty to 200 pounds of marijuana” with intent to distribute to show intent to distribute cocaine).

       Similarly, that the prior conviction involved a different group of conspirators does not

make the conduct so dissimilar as to diminish its probative value on the issue of intent/mistake. In

the vast majority of cases, a prior drug trafficking conviction does not involve the same players as

the conduct underlying the new case. But courts nonetheless routinely admit that prior conduct

with different conspirators in new cases. There is no rule that for a prior conviction to have

probative value, the same players must be involved. The conduct is similar at the level that

matters—Martin previously indulged a criminal intent to conspire to distribute narcotics and a jury

evaluating whether his asserted lack of knowledge and intent in this case is true is allowed to

consider that prior indulgence.

       The government recognizes that the conviction is old, but much of that age is because

Martin was in prison for about a decade. Shortly after his release, Martin was back in the drug

game, having cryptic calls with a known drug trafficker setting up brief meetings where Martin

and the drug dealer would hop in each other’s cars for short meetings. Martin should not benefit

from the fact that his prior conviction involved such large quantities that he was sentenced to a

decade in prison and thus had a large gap in his criminal activity.

       In any event, the age of the prior convictions does not bar their use under Rule 404, and

the Fifth Circuit has approved the admission of convictions of a similar age as the ones at issue

here. United States v. Arnold, 467 F.3d 880, 885(5th Cir. 2006) (finding no abuse of discretion in

the admission of evidence of prior convictions that were 15 and 18 years old); United States v.




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Chavez, 119 F.3d 342, 346 (5th Cir.1997) (finding no abuse of discretion in the admission of a 15

year old conviction), Broussard, 80 F.3d at 1040 (finding no prejudice from admission of prior

conviction that was more than 10 years before the charged offense).

       Martin also takes issues with the government’s arguments from its Notice that the potential

prejudice of introducing the prior conviction was lessened by that same conviction being the

predicate disqualifying felony conviction for the felon in possession count and the government

having to prove up the prior conviction for the alleged enhancement under Section 851 to apply.

       In response to the first argument, Martin “agrees to stipulate to the fact that his prior

conviction satisfies the prior conviction element of 18 U.S.C. § 922(g)(1), and further, that it was

not for a conviction excluded pursuant to 18 U.S.C. § 921(a)(20).” Rec. Doc. 95-1 at 10. If Martin

will stipulate pursuant to Old Chief that he was a convicted felon, the government agrees that

introducing the actual conviction on the grounds that it proves up the felon in possession count is

not a viable basis to introduce the conviction. If he stipulates to the felony conviction, the test

remains the typical Rule 403 balancing analysis.

       In response to the second argument about proving the enhancement, Martin argues that the

prior conviction is a sentencing factor not to be submitted to the jury. Rec. Doc. 95-1 at 14-15.

He bases the argument on Alemendarez-Torrez, which held that a prior conviction is not a fact that

must be alleged in an indictment or found by a jury beyond a reasonable doubt, even though it

increases the mandatory penalty. 523 U.S. 224, 226-27 (1998).

       In general, the Sixth Amendment requires a jury to decide any fact that increases the

statutory maximum or mandatory-minimum sentence available for a crime. Alleyne v. United

States, 570 U.S. 99, 103, 111 n.1 (2013); Apprendi v. New Jersey, 530 U.S. 466, 490 (2000). But

there is an exception to this rule for the “fact of conviction.” This exception stems from




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Almendarez-Torres. The Court has described Almendarez-Torres as an “exceptional departure

from” and “narrow exception to the general rule.” Apprendi, 530 U.S. at 487, 490; see also

Alleyne, 570 U.S. at 111 n.1 (“In Almendarez-Torres[ ], we recognized a narrow exception to this

general rule for the fact of a prior conviction.”); United States v. Haymond, ––– U.S. ––––, 139 S.

Ct. 2369, 2377 n.3, 204 L.Ed.2d 897 (2019) (plurality) (stating that Almendarez-Torres provides

a “narrow exception[ ] to Apprendi’s general rule”).

       The difficulty here is that the First Step Act changed what is required to be shown to

enhance a defendant’s sentence. Section 841(b)(1)(A), under which Martin is charged, provides

for a fifteen-year-minimum sentence if a defendant commits certain violations of 21 U.S.C. §

841(a) “after a prior conviction for a serious drug felony ... has become final[.]” Prior to the First

Step Act, this enhancement provided for a mandatory minimum twenty year sentence after a prior

final conviction for a “felony drug offense,” which included certain drug-related state or federal

offenses punishable by more than a year of imprisonment. 21 U.S.C. § 802(44); First Step Act of

2018, Pub. L. No. 115-391, § 401(a)(2)(A)(ii), 132 Stat. 5194, 5220. The First Step Act lowered

this mandatory minimum to fifteen years and replaced “felony drug offense” with a new term,

“serious drug felony.” First Step Act § 401(a)(1), (a)(2)(A)(ii). Relevant here, a “serious drug

felony” is (1) a “serious drug offense” under 18 U.S.C. § 924(e)(2)(A), for which the defendant

(2) served over a year in prison and (3) was released within fifteen years of the commencement of

the instant offense. 21 U.S.C. § 802(57).

       The issue then is whether the Sixth Amendment requires a jury to decide whether Martin

was incarcerated for over a year and released within fifteen years of the instant offense, as those

additional factual predicates are arguably not the same as the “fact of conviction.”

Alleyne and Apprendi described the Almendarez-Torres exception as “narrow” and applying only




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to the fact of conviction, and the First Step Act’s incarceration facts extend beyond the fact of

conviction. Further, in justifying the Almendarez-Torres exception, the Court has explained that

prior convictions are “constitutional[ly] distinct[ ]” because “unlike virtually any other

consideration used to enlarge the possible penalty for an offense, ... a prior conviction must itself

have been established through procedures satisfying the fair notice, reasonable doubt, and jury trial

guarantees.” Jones v. United States, 526 U.S. 227, 249 (1999). That rationale would not seem to

apply to post-conviction facts regarding time served or recency of release. Those are new facts

never previously found in a proceeding with built-in constitutional protections.

       On the other hand, the Court has also sometimes used a broader justification for

the Almendarez-Torres exception.      The Court has justified the exception on the basis that,

traditionally, facts involving recidivism have been within the province of judicial fact-finding and

that these facts are usually unconnected with the substantive offense at issue. See Almendarez-

Torres, 523 U.S. at 243 (noting that “the sentencing factor at issue here—recidivism—is a

traditional, if not the most traditional, basis for a sentencing court’s increasing an offender’s

sentence”); Jones, 526 U.S. at 235 (making similar point); Apprendi, 530 U.S. at 488 (pointing out

that Almendarez-Torres emphasized “the fact that recidivism does not relate to the commission of

the offense”). If Almendarez-Torres creates an exception more broadly for “recidivism,” there is

a case for saying that the incarceration-related facts are a good fit for the exception. They arguably

relate only to recidivism, and they are completely unconnected to the current offense.

        This issue of what must be pleaded and proven to a jury for an enhancement under Section

851 is just starting to work its way through the federal courts. Two district court decisions directly

addressing the Sixth Amendment implications of the new “serious drug felony” incarceration facts

have reached opposite conclusions. In United States v. Fields, 435 F. Supp. 3d 761, 764 (E.D. Ky.




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2020), the district court held that the jury must decide these facts, emphasizing the Court’s clear

statements that the Almendarez-Torres exception is “narrow” and limited solely to the “fact of

conviction.” See also United States v. Beal, No. 18-00070, 2021 WL 4524159, at *3 n.6 (D. Haw.

Oct. 4, 2021) (stating “that the more conservative approach would be to put the question of the

serious drug felony determination to the jury before its dismissal”). But a North Carolina district

court has held the opposite, relying more heavily on the “recidivism” justification. See United

States v. Lee, 2021 WL 640028, at *3-7 (E.D.N.C. Feb. 18, 2021) (“The exception for the fact of

a prior conviction is based in the recognition that recidivism does not relate to the commission of

the offense.”); see also United States v. Fitch, No. 19-CR-30, 2022 WL 1165000, at *2 (N.D. Ind.

Apr. 19, 2022) (concluding that, although the First Step Act added new facts to consider, those

facts are still facts of a prior conviction).

          The government’s position is that the better practice is to plead and prove the facts that

give rise to the enhancement, which is why the indictment contains an allegation that Martin was

previously convicted of a serious drug felony, that he served more than twelve months, and that

he was released within fifteen years of the instant offense. The Fifth Circuit has noted that

numerous members of the federal judiciary, including members of the Supreme Court, have

concluded that Alemendarez-Torres was wrongly decided. See United States v. Garza-De La Cruz,

16 F.4th 1213, 1215 (5th Cir. 2021). It is not worth committing a potential Sixth Amendment

violation as part of Martin’s effort to keep out evidence that is admissible under Rule 404(b). That

the government will need to present evidence of Martin’s prior conviction to prove up the

enhancement underscores that Martin will not be unfairly prejudiced by its admission.

    II.      Martin’s Prior Drug Trafficking Activity with Harry Barry

          Unlike with his prior conviction, Martin was not charged or convicted when DEA agents




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intercepted him on wiretaps they were conducting on a phone used by Harry Barry in the summer

of 2011. The calls and related surveillance nonetheless are relevant because they show Martin

arranging meetings with a known and convicted drug trafficker and meeting with him. In addition,

Martin was using the same phone to call Barry that was tapped in the instant case, making the prior

evidence relevant to identity as well.

          As to the latter point, Martin does not deny that he used the same phone to call Barry that

was tapped as part of the instant case. He further writes that he does not deny he was the individual

using the 504-201-6450 number both during the Barry wiretap and during the wiretap that was part

of the investigation of the instant case. If he is willing to stipulate to those facts at trial, the

government agrees the admission of the evidence should be based on intent rather than identity.

          According to Martin, the evidence related to his interactions with Barry is not relevant at

all because the government cannot prove that Martin in fact trafficked drugs with Barry. Rec. Doc.

95-1 at 12. Much as with his apparent defense to the instant charges, Martin argues that the calls

and meetings with Barry were innocent in nature and insufficient to prove even by a preponderance

of evidence that Martin was engaged in drug trafficking. Without a sufficient factual basis to

conclude the activity was criminal in nature, Martin contends it is not even relevant and should be

excluded as “unsubstantiated innuendo.” Id. at 13.

          The government is cognizant of the danger of going down a rabbit hole at trial, spending

excessive time attempting to prove that Martin in fact conspired with Barry. The trial of this matter

is not about Martin and Barry conspiring but rather Martin conspiring with Esprit, Jackson, and

others.    Martin’s prior dealings with Barry, however, are relevant to proving the alleged

conspiracy. Martin is a sophisticated and experienced drug dealer. He had just finished serving a

decade in federal prison after admitting to participating in a large-scale cocaine conspiracy




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involving some of the most dangerous men in the city. Within two years of his release, Martin

was being intercepted on federal wire taps engaging in cryptic conversations and meetings with

Barry. Just as is the case with the current charges, Martin was not overtly discussing drugs on the

calls with Barry and not openly conducting drug transactions during their meetings. But when he

claims that the cryptic conversations are completely innocuous and not simply a savvy dealer

avoiding phone conversations, the government can introduce prior instances in which Martin was

having similarly cryptic conversations and meetings with a different drug dealer.

           To the degree the Court has concerns about unfair prejudice, limiting instructions rather

than outright exclusion is the appropriate remedy. The Fifth Circuit has repeatedly explained that

any unfair prejudice from Rule 404(b) evidence may be mitigated, if not eliminated, when the

district court gives a limiting instruction contemporaneously with the admission of the evidence. 2

                                                   CONCLUSION

           For the foregoing reasons and authorities, the evidence of Martin’s prior conviction should

be admitted as both intrinsic evidence to prove the charged sentencing enhancement and/or

extrinsic evidence of intent on the drug charges and the wiretap evidence from the Harry Berry

wire should be admitted as extrinsic evidence of intent.

                                                                 Respectfully submitted,

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    See, e.g., Moody, 564 F.3d at 764; McCall, 553 F.3d at 829; Peters, 283 F.3d at 312.



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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 21, 2023, I electronically filed the foregoing with the Clerk
of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel
of record.

                                                     /s/ David Haller
                                                     DAVID HALLER
                                                     Assistant United States Attorney




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